                   EXHIBIT 91 -
              Smith Presentation
                    (public document)




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     rstand current state of gender affirming care at AMC

Jrnprove.Clinical4i4 'elated to*tory•Tal6nq:#01'P4iPl.:Yt7ePtiPrOci .171909.e., yrrpi.fnding-gen4e Taffirmin
care(GAC)

improve. knowledge             anty with hormone therapy i it anon, adjutrneht,,• and maintenance

Understand standards of                                         -i70grdioggOjcl    ffir:Mi-O'gi care
       :resbiocet'f0r,learnitig more about GAC:.




                                                                                                               #166.130
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No financial disclosures 0

We will be discussing non-FDA approved prescribing practices

Presentation is based off WPATH Standards of Care 8 as well as the UCSF Guidelines for the.P
and Gender Affirming Care of Transgender and Gender Non-Binary People




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                                                                                     #166.132
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                                                                                 #166.134
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Review of Resident GAC Encounters from January 2023
• 32 unique Transgender and Non-binary patients were seen by residents during this time
  Assessed documentation of:
      Patient name and pronouns
    • New patient "gender stories"
    • Criteria for gender dysphoria
      Obtaining written or verbal consent prior to initiation of hormone therapy
    • Discussing contraception with patients at risk of pregnancy
      Appropriate prescribing practices
      Appropriate laboratory monitoring for baseline and follow up labs
      Appropriate timeline for follow up
    • Health maintenance needs




                                                                                                  #166.135
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Room for improvement in resident clinical practice and documentation
• For patients initiating hormone therapy only 3 out of 17 documented consent (written or verbal)

•    or patients assigned female at birth, only 9 out of 20 documented a discussion ak out contraception or pregnancy ris

    Multiple examples of incorrect or unnecessary lab orders:
     • Ordering baseline estrogen and/or testosterone level prior to initiating hormone therapy
          rdering baseline SHBG or prolactin

      few instances of unsafe hormone levels without a plan of care documented
         Estrogen level >800, no follow up or medication dose adjustment noted
         Testosterone level >1300, plan to "continue current dose"
         increasing testosterone from 40 to 100rngiweek over a 6-month span without,any lal       e Pite 2 in Person visits)

     ther:
     •     rmecessary genital exam on a patient establishing care
        Starting a 17-year-old on hormone therapy without documented consent r documented parental presence a
        ap ointment




                                                                                                                         #166.136
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                                                                                      #166.137
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Gender-affirming care (GAC): a supportive, patient-centered form of healthcare, consisting of medical;
surgical, mental health, and non-medical services for. Transgender and Gender Diverse (TGD) people, often
geared towards aligning their outward, physical traits with their gender identity,' May include:


                                    urgery                 Psychotherapy                   Other Services

                                 Breasts/chest,            Management of                   Voice training
      Masculinizing             external and/or           concomitant psych                 Electrolysis
    (testosterone) or          internal genitalia,        conditions, as well             Hair transplant
  feminizing (estrogen       facial features, body       as gender dysphoria             Cancer screenings
    + anti-androgen)               contouring                                             Preventive care
                                                                                          Family planning




                                                                                                            #166.138
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A marked incongruence between one's experienced/expressed gender and natal gender of at least 6 months it
duration, as manifested by at least two of the following:

        A marked incongruence between one's experienced/expressed gender and primary and/o secondary sex
        characteristics or in young adolescents, the anticipated secondary sex characteristics)
        A strong desire to be rid of one's primary and/or secondary sex characteristics because of marked
        incongruence with one's experienced/expressed gender (or in young adolescents, a desire to prevent the
        development of the anticipated secondary sex characteristics)
        A strong desire for the primary and/or secondary sex characteristics of the other gender
        A strong desire to be of the other gender (or some alternative gender different from one's designated gender)
        A strong desire to be treated as the other gender or some alternative gender different from one's designated
        gender)
        A strong conviction that one has the typical eelin sand reactions of the other gender (or some alternative
        gender different from one's designated gender)

Plus, "clinically important distress that affects the individual significantly socially, at work, and in other import areas of
life,
                      This should be clearly documented prior to initiation of hormone therapy




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    Over 300 patients receiving GAC at the FMC

    Patients come from all over the state. The top geomaj
    reflects FY 2020, and bottom reflects. FY 2021

    Patients enter our care through multiple channels:
     - Community referrals
         Referrals from UNC Transgender Health Program (via
         Dept of Urology)
         Self-referrals from patients who have learned of our
         services by word of mouth community presence, etc.

    Many residents at FMC are interested in and/or currently
    doing GAC: Residents did 32 GAC., visits in January


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                                                                                                    #166.140
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    Initial Assessment                                                                    FOLLOW-UP VISITS

                                                                                                                      en
                                                                                           annually thereafter
    Build connection and trust                                                             Monitoring; labs
    Sumcr arize the GAC.process                  0sWer:patieOS,duestions,arl.                ose titration
                                                address any concerns - •
                                                                                           Assessing desire      nd urn e re
                                                                                           effects
    introduce discuss'
    guide/consent for                                                                      Referrals if in aced surge(
                                                  escnbe medications                       mental health etc)

                                                                                           General primary care, including
                                                                                           advocacy!

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                                                                                                                       #166.141
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    Establish connection and trust; learn your patient's gender story, support system, goals concerns

    Discuss major expected changes and risks using discussion guide/consent form
         .FMCGACFEM or .FMCGACMASC

    Discuss medication options
         Ferninizing: estradiol (oral, IM, SQ or patch) +/- anti-androgen (usually spironolactone)
         Masculinizing: testosterone (IM, SQ, or topical gel)

    Baseline labs
        Feminizing: BMP (if planning to start spironolactone)
        Masculinizing: CBC or H&H; UPT if at risk of pregnancy
        Baseline hormone levels not indicated unless concern for intersex condition or other complex case

    Typically defer physical exam at first visit



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                                                                                                              #166.143
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                                                                   Smartphrase: .FMCGACNEWPATIENTMASC
Important to talk early on about goals of treatment:               FMCGACNEWPATIENTFEM
    What are you hoping to achieve?                                  U;
                                                                 (g,PREFERREDNAMErai is a @AGE@ @SEX@ coming to clinic today for the following issues.
    What features are you excited about reducing ©r
                                                                aeCe
    developing?                                                 HPf:

    What are your greatest sources of dysphoria                 - Preferred Name: x",
                                                                - Legal Name: "'
    euphoria?                                                   - Pronouns:

                                                                 - Gender Identity Story (What do you want me to know When did you identify as ttansly ""

Do not assume that everyone wants the highest                    - Patient meets at least two of the following criteria for Gender Dysphoria: with distress with an impact on important
                                                                 areas of their life: (YesfNo 11203)
possible dose of hormones, or even that they want                        - Noticeable incongruence between gender that the patient sees themselves as and their sex characteristics
                                                                         - An intense need to do away with (or prevent) primaryisecondary sex features
hormones at all                                                          -An intense desire to have the primary andlor secondary sex features of the other gender
                                                                           A deep desire to transform into another gender
                                                                         - A profound need for society to treat them as someone of the other gender
     Some patients, especially nonbinary folks, may                        A powerful assurance of having the characteristic feelings and responses of the otter gender
     prefer a very low dose of hormones rmicrodose'             - Preference tor Anatomical 'Terminology.
     Some may want surgery only                                  - Goals for Transition: ""

                                                                - Thoughts on Hormone Therapy, ""

This discussion is also important for setting,                  - Thoughts on Surgery: *"

expectations (e.g. cannot raise pitch of voice via               - Do they desire fertility preservation?' "'

feminizing hormone therapy alone)                               - Legal documents changed?
                                                                       - Birth Certificate: (Yes/No.11203)
                                                                        - Driver's €.icensetState ID: (YesiNo:11203)




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                                                                                                  1. ii,, OCTt ANC,                  itiirrecr                                •
r AEU IA, £.'£ELDS At O £.XfirCTED INC:COURSE C£ MASCULIN4,,
                                                                                                                                          . . .
                                                                                              Effect.                               Expected onset                     Expected maximum effect
 Effect                                  Expected onset             Expected maximum effect
                                                                                              Body fat redisiribotion                      :m,11,.
                                                                                                                                                                                                  IMPORTANT CAVEAT:
 Skin eihness!arne                       1-6 months                                           Etecreased mince trims/
                                                                                                                                           rricrIthl,
                                                                                                                                                                                                  All bodies are different;
 Paciai!boclY hair growth                 3-6 months
                                                                                              mien&
                                                                                              Softening of skinidecieased
                                                                                                                                                                                                  these are just meant. to be
                                                                                                                                           rnc,;11,

 Scalp hair oss                          .12 months'
                                                                                                                                                                                                  rough guidelines.
                                                                                              Decreased ',tido                      I .3 months

 Increased muscle masststrength          5—i2 months               al i pet e                 Decreased spontaneous
                                                                                              erections
                                                                                                                                    i      ..no,th,
                                                                                                                                                                                                   Progressing through these
 Body 5t redisnibtition                   3-5 montns                2-5 vcms                  Male sexual dysfunction               :a cite                                                        changes at a slower rate
 Cessation of menses                     2-5 months                                           Ern, gr,eth                           3-6 rmnrlis
                                                                                                                                                        ......
                                                                                                                                                                                                   does not mean 'failure;
 Clitoral enlargement                     3-6 months                    Yetirs.
                                                                                                                                          6 tra,h,                                                 rather, this is an opportunity
 'v.      atrophy                        3-6 months
                                                                                                                                                                                                   to engage in shared decision
                                                                                                            ,14,re-6 g,tud6,
                                                                                              body and (scud haw
                                                                                                                                    , 12                                                           making re: dose escalation
 Deepened voice                          3-12 months
                                                                                                                                    No regrowth. los,
                                                                                              Male !>attem baidnes,
 A Adz        pen...i r few. ie.rebeet   g00, Ce,vngi,!      Enc,..ne                                                               stops 1-3 months
           rep.o.ce, ,1;1s.d                   .Rtr...gons
                         ard inlee.oKe rn,                                                    • :0>yad.,,,stion         kttrbme 'to R.:                          Endor,c
                                                                                              • Escmov.s
 .                        arm,.ast
                                                                                                         ..kpetiosc: anAranlorau-..z.
                                                                                                                  .4rbaxi



                                                               Help residents practice counseling patients on these changes!




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Table 2. Risks associated with gender affirming hormone
therapy (bolded items are clinically significant) (Updated
from SOC-7)
                                                                           Absolute contraindications for testosterone therapy:
                                                  Testosterone-based
RISK LEVEL          Estrogen-based regimens            regimens                Pregnancy (must get UPT if sexually active)
Likely increased Venous                       Polycythemia                     Active sex-hormone sensitive cancer
   risk             Thromboembolism           Infertility
                 Infertility                  Acne                         Other factors to consider: polycythemia, hyperlipie emia, HTN, T2DM, CVD
                 Hyperkalemia'                Androgenic Alopecia
                 Hypertrigyceridemia          Hypertension
                 Weight Gain                  Sleep Apnea
                                              Weight Gain
                                                                           Absolute contraindications for estrogen therapy:
                                              Decreased HDL Cholesterol        Estrogen-sensitive neoplasm
                                                 and increased LDL
                                                 Cholesterol                 - End-stage chronic liver disease
Likely increased    Cardiovascular Disease    Cardiovascular Disease
   risk with        Cerebrovascular Disease   Hypertriglyceridemia         Other factors to consider: History of VTE, hypertrig yceridemia, T2DM,
   presence of
   additional
                    Meningioma'
                    Polyuria/Dehydration'
                                                                           breast cancer, HTN
   risk factors     Cholelithiasis
Possible            Hypertension
   increased risk   Erectile Dysfunction                                   Assess mental health and discussion emotional changes on hormone
Possible            Type 2 Diabetes           Type 2 Diabetes
   increased        Low Bone Mass/            Cardiovascular Disease
                                                                           therapy
   risk with           Osteoporosis
   presence of      Hyperprolactinemia
   additional                                                              Discuss fertility preservation options prior to starting hormones
   risk factors
No increased        Breast and Prostate       Low Bone Mass/
   risk or             Cancer
   inconclusive
                                                 Osteoporosis
                                              Breast, Cervical, Ovarian,
                                                                           Discuss contraception if necessary if prescribing Testosterone
                                                 Uterine Cancer                 Any form of contraception is safe and effective!
tcyproterone-based regimen
sspironolactone-based regimen




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    TGNC individuals have higher rates of anxiety, depression, and other rnenta
    health Condit ores Having a mental' health condition does not invalidat
    gender dysphoria and does not preclude treatment

    Speaking to a therapist familiar with gender affirming care can be helpful but is
    not required for patients to start hormone therapy

     epending on comfort level you can manage uncomplicated depression and
    anxiety for your TGNC patients.

      you, have concern foe I, )   psychosis,,complicated' depressiorVanxiety„,or
    other more  complex  mental health conditions, refer, patients ,to the Dept cif                  t•
    Psychiatry's Gender Equity and Welinessinitiative (GEWI), liMited to ages' 5-,30.

    Transgender Health Program is a great resource: message itTransgender Heal
    Hillsborough Clinical Staff Pool



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                                                                                                         ).uNcLoGoag
                                                                                                    UNC Family Medictne
    Discussion guide-, .FIVICGACFEM or
    .FMCGACNIASC                                        Discussion Guide for Gender Affirming Estrogen and Androgen Slackers

      - Overview of hormone therapy process              What is Informed consent?
                                                         Before starting hormone treatment, it is important to understand the possible benefits, risks, warning signs,
         Expectations                                    and alternatives. Agreeing to start hormone treatment once you know all of the benefits, risks warning
                                                         signs, and alternatives, and have had all of your questions answered, is called informed consent.
         Risks and benefits of hormone therapy           What medications can feminize physical appearance?
                                                         Part of transition for many transgender and gender diverse people involves taking hormones. Most people who
                                                         were assigned male at birth who desire feminizing medication take estrogen (feminizing hormone) and androgen
    Print   r patient and/or provide in AVS              blockers to prevent their body from producing or utilizing testosterone (masculinizing hormone). You may want to
                                                         take these medications to feminize your body, to appear moi e androgynous, or to feet more comfortable in your
                                                         lived gender.

    Document this discussion and either verbal or        What is estrogen and how is it taken?
                                                         Estrogen is a sex hormone that found is almost all bodies. Different forms of the hormone estrogen are used to
    written consent prior to initiation of hormone       change your appearance and how you feel_ Estrogen can be given as a patch (which is changed once or twice
                                                         a week), an injection (weekly or every other week), or as a pill (daily or twice a day). Estradiol is the form of
    therapy                                              estrogen hormone that is prescribed for gender affirming care. Some trans and gender diverse people choose
                                                         to take estradiol and others do not. lhe choice is based on personal preference and the desired benefits of the
                                                         hormone.

                                                         What are androgen biockers and how are they taken?
                                                         Medications that block the production or effects of testosterone are called androgen Workers. Androgen is
                                                         another term for masculine sex hormones like testosterone. Spironolactone is the androgen blocker that is most
                                                         commonly used in the US, It is a pill that you swa€low once or twice a day Other medicines are sometimes
                                                         used; but because spironolactone is relatively safe; inexpensive, and effective, it is the pnrnary androgen
                                                         Worker.




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                                                                                                                      ''     III
                                                                                           ''                                      ''



                                                   UNC Family Medicine
                                                  New Patient Clinic Note

  ASSESSMENTPLANBEGIN@
 @PREFERREDNAME© is a @AGE@SEX@ who presents to discuss initiation of gender-affirming care_

 @PROBDIAG©

 Attending: Dr.

       Gender-affirming care
  €Preferred name (PRE.FERREDFIRSTNAMEft.„ pronouns: "*. It is my assessment that
m'@PREFERREDFIRSTNAME c meets. DSM criteria for gender dysphoria. Reviewed risks, complications and side
'effects associated with the use of hormone therapy including, but not limited to effects of feminizing hormones and                    fl



    changes in fertility, and provided written handout with further information_ *" xPatient has reviewed this and consents
    to proceed with feminizing hormone therapy. informed that their insurance may require prior authorization. Labs
    drawn today for baseline levels and will review prior to hormone initiation.                                                        fl



    - Baseline labs today:
            - BIVIP prior to Spironolactone
      ""Plan to send feminizing hormone therapy if baseline labs appropriate:
iii         - Estradiol ***
            - Spironolactone " mg '
      Resources provided in AVS




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   MASCULINIZING THERAPY                                                  FEMINIZING THERAPY

Testosterone cypionate:.(100.b(-20 .0                           Estradiol valerate (20 or 40 mg/m injection}:
                                                                     Low dose: <5 rng weekly
 - Low dose 40 r 'tg weekly.                                         Typical starting dose: 5-10 mg weekly
   Typical starting dose 50 100 mg weekly                            Max dose: 20 rng weekly
   Typical r ax d©se 100 rn weekly        •
   Doable dose if;adr inistered g2 weeks.                       Estradiol cypionate (5 mg/mt. injection):
                                                                 - Same medication, different suspension
 estosterone gel (multiple formulations; preferred                    enerally 1/4 the dose of valerate
for patients with relative contraindications to                        n be administered ci2 weeks (double dose)
     Low dose: 12.5-25 mg daily
     Typical starting dose: 20-62.5 mg daily                        Spironolactone: anti-androgen
      ypical max dose: 100 mg dailyx                                 - Low dose: 25 mg total >daily
                                                                         Typical starting dose: 100 rng 300 mg daily
  juvant medications: finasteride, dutastende                              ax dose: 400 mg daily
can help with hair loss and other side effects)                          f not tolerated, can try finasteride




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    QUICK NOTE ABOUT INJECTIONS


    All hormone injections can be intramuscular (IM) o
    subcutaneous (S                                  -•

     larmacy can provi e injection teacr to
                                                               .
                                                       r injections:-

       Fenway health self-injection guide-
     - Instructional videos         ,




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                                                                                                                  Some patients may want to try medications that
                                                                        TRAIN4**VeR MOW. cos.:wt.     sti,f1::E
                                                                                                                  you're less familiar with, including:
          Gender Affirming
     Hormone Therapy Guidelines                         TRANS !NE                                                      Progesterone: reasonable to use, good
Trans Masclihne, Exogenous Testosterone Down
                                                                                                                       information on UCSF site
                                                                                                    At,
                                                                                                                       Bicalutamide: would avoid
                                                                                                                    µ LuPron: logistically difficult due to insurance
                                                                   ww
                                                                   •allt.,1•Orrnos

                                                                            '<We
                                                                       •••••Orn
                                                                                                                       and affordabiii

                                                                                       •
                                                                                                                  Transliner a transgender medical consultation
                                               •   Mov..1•Ve
                                                                                       .                      :
                                                                                                                  service, has developed a set of easy-to-reference
                .."                                Ur *in.
                                                               •                       E
                                                                                                              •   tables listing different options for gender-a irming
                 r•s.,..(1.,!..                                                                                   medical treatment.
                                  4,9



                                                                                                                  Also includes dose conversions for different
                                                                                                                  formulations!

                                                                                                                  If prescribing outside of typical dosing
                                                                                                                  regimens, should document reasoning




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  Hormones II often require a prior auth, which may cause
  a delay of days to weeks before prescription is available.
                                                                       Orders and Prescriptions
                                                                       Medication Panel
  if injecting, patient will need supplies: needles, sYnnges,          testosterone cypionate (DEPOTESTOTERONE CYPIONATE)
  alcohol swabs, sharps container,                                     100 ingfint. injection
                                                                       OO iniect 0.5 mL (SO mg total) into the muscle every seven (7) days,
                                                                       Disp-2     R.2, Normal

  Order sets: "Gender Affirming IM Testosterone (SQ also               alcohol swabs PadM
                                                                       OO Use one to clean testosteione vtai and one to dean ,skin prior to
  available)                                                           ,rijecting every 7 days, Disp-50 each, R-1, Norma/
                                                                       needle, lisp, 22 G 22 gauge x 1112' Ndle
                                                                       0 Use to INJECT testosterone into the muscle every 7 days Disc- 25
- GoodRx option if no insurance coverage                               each, R-1. Normal
                                                                       needle, disp, 18 G 18 gauge x 1" Ndle
                                                                       OO Use to DRAW UP testosterone every 7 days., Disp-25 each, R-1.
  May be cheaper/easier for patients to buy injection supplies         Normal
  online                                                               empty container Misc
                                                                       OO Please dispense sharps collection container, any bra.   Disp-1
                                                                       each, R-11, Normal
                                                                       syringe, disposable, 1 mt. Syrg
                                                                       OO Use to inject testostemae eery 7 days, Disp-25 each R-1, Normal




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- Timeline: 1m, 3m, 6tnr 12m, annual                      Smartphrase: UNCGACFOLLOWLIPMASC or
                                                          UNCGACFOLLOWUPFEM
  Physical exam .4- preventive care: screenings,                                                         UtfC Family Medicine
  chronic conditions, etc. If you have it, screen itl                                                Established Patient Clinic Now

                                                         @ASSESSMENTPLANBEGIN@
                                                         @PREFERREDNAME@ is a @AGE@ftSEX© who presents for follow-up of gender-affirming care.
- Check-in re: physical changes and transition           @PROBDIAG@
  goals                                                  @depscreentoday@

                                                         Attending: Dr. "`

                                                         * Gender-affirming care - masculinizing hormone therapy
  Mental health / wellbeing check-in: Seeing             Preferred name @PREFERREDFIRSTNAME@, pronouns' "*. Pt has been doing well on current dose, and is
                                                         satisfied with changes. Physical changes since last visit include "". Emotional/social changes include "". Medical
  therapist and/or psychiatrist? Feeling safe and        concerns include "". Denies."' chest pain, shortness of breath, headache, vision changes, or any other new
                                                         symptoms.
  supported? Stable housing?                             - Current testosterone regimen: ""
                                                         - Labs: H&H or CBC, total testosterone at 3, 6, and 12 months, then annually thereafter
                                                                 - Add CMP or lipids if clinical concern for liver disease or hyperlipidernia
                                                                 - Aim for testosterone in mid-physiologic range for cis male (300-700)
  Dose titration based on patient goals and                        Goal hematocrit <55. If elevated, will ensure patient is well hydrated and recheck. If persistently elevated,
                                                         will evaluate for pulmonary disease (OSA, tobacco use), would then consider lower dosing, more frequent dosing,
  follow-up labs                                         and/or transdermal administration
                                                         - Follow-up in three months. repeal labs at that time
                                                         - lmection supplies: 18 gauge needle to draw: 1.5 mL syringe; 23 gauge for IM, 25 for SO. ("""'use GAG order set in
                                                         Vinay's preference list)
                                                         - PrEP             *"* (if patient is eligible/interested in PrEP, add this as a separate problem below, and use dotphrase
                                                         FMCPREPSTART)
                                                         - Contraception: ""




                                                                                                                                                               #166.156
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Follow-up: `H&H and total testosterone at 3, 6, and 12 months, then annually therea
     Add CMP or lipids if clinical concern for liver disease or hyperlipiderni



              econ-     liaty4et e          rit)e                           a fy
                                                                    •pti unary
 inc. OSA), then consider more frequent, lower dosing, or transdermal administration vs.
lowering dose.

Note reference ranges that are sex specific ;{hormone levels, H&H, Creatinine)




                                                                                                    #166.157
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  Follow-up: Total estrogen total testosterone at    -and 12-months then
  annually thereafter; acid, BMP if spironolactone.—

       ttiti4eff
      (100-300ish)
        - Note may be widely variable i   injectable estrogen           rechec
      Testosterone reference range: goal <55 ngidL

- Less commonly ordered: can reference UCSF guidelines for more information
  about these
      Prafactin
       SHBG + albumin




                                                                                                   #166.158
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FOLLOW-UP VISITS: DOSE TITRATION


  Titrate based on combination of patient goats and lab values; they are,
  driving, we are the guardrails.

  If a patient wants more dramatic and
  concerning generally ok to increase dose,


      $hAted decision-making re how l'much to increase b
      if of estrogen + Spiro; can increase both sir>ultanebusl

                                                t*e-ssoi9
  dose right away; consider smaller, ,more frequent cio$,e,',0r alternateroute
      transdermal)     sp:::r000*::inje:(000„tp04j:

            0        itlt)-thOfter doseOO




                                                                                                    #166.159
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  Patients assigned male at birth:                                Patients assigned female at birth:
    Consider mammogram at age >50 an                                Generally do not need mammograms
     >5-10 years on estrogen                                        after mastectomy, can consider annual
    Consider annual speculum exam post-                             chest exams
    vaginopiasty
                                                                    Considerations around pap smears
                                                                         Self swab?
                                                                         Stop after hysterectomy if cervix
                                                                          removed

A note on language:
Talking to patients about anatomy may be triggering or dysphoria-inducing

Using more passive or de-personalized phrasing can help, as well as including gender affirming language

"Anyone with a cervix should have a pap smear every 3-5 years" or "Guys who have a cervix should still
be screened for cervical cancer" instead of "You still have your cervix, so you need pap smears regularly"




                                                                                                             #166.160
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          Chosen name                in Epic or note: tonsistent in note               Pregnancy        Documentation of pregnancy risk/contraception status
                                                                                                        (AFAB)
          Pronouns Document in Epk or note; conststent in note
                                                                                       Prescriptions    Estrogen not above max: 8mg PO daiiy, 400mcg transderrraI,
                                                                                                        20mg ₹M weekly (EV) 2,5mg IM weekly (EC) or documented sti,1
                                                                                                        appropriate labs

          Note clearly states patient meets criteria for Gender
          Dysphoria first visit only                                                                    Spironolactone not above max 200mg BID

Consent   Consent documented verbal or written                                                          Stop Spiro post-orchiectomy

          For Testosterone:
              •   Baseline CBC                                                                          Testosterone not above max: 100mg/wk
              •   Testosterone and CBC q3 months for first year,
                  after dose changes                                                   Health           Pap (AFAB) Or documented
              •   Annual CBC                                                           Maintenance      Mammography (AFAB) or documented
              •   NCI <SS or plan documented                                                            Mammography (AMAB) or documented
              •   Testosterone 2004000 or plan documented
                                                                                       Follow up        Every 3 months for first year (oppt scheduled, documented in
          For Estradiol/spiro:                                                                          note, or in 41/S)
              •    Baseline BMP prior to spiro                                                         AMITMZIIMAA, '
               •     Test, Estradiol, BMP q3 months for first year,
                     after dose changes
               •     Annual BMP while on Spiro
               •     K < 5.0 or pion documented
               •     Estrogen 50-400 or plan documented




                                                                                                                                                                         #166.161
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S




                                                                                      #166.162
    Case 1:23-cv-00864-LCB-LPA   Document 143-91   Filed 10/11/24   Page 35 of 44   UNC_0000162
Matthew is a 23-year-old Transgender man who presents to establish care for gender affirming care. Hf
began experiencing distress about his body at age 11 and has identified as Transgender since age 15.
He reports significant distress about his voice, chest, and periods.

Matthew's past medical history includes Major Depressive Disorder for which he is prescribed Zoloft,
and a history of a suicide attempt at age 16. He reports his mood is currently "okay' — he intermittently
experiences passive SI but. denies active plan or intent. His PHQ9 score today is 10.

He is otherwise healthy and takes no other medications. He is sexually active w h men. He drinks 3
beers per week, does not use tobacco, and smokes marijuana once a month.

Matthew has never taken hormones before and is excited to start Testosterone. He is also interested in
double mastectomy ("top surgery").




                                                                                                         #166.163
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Is there anything else you would ike to know about Matthew?

What labs should we get today?

Are there any medications we should talk to hire about in addition to Testosterone?

Matthew's baseline hemoglobin is 14 and his urine pregnancy test is negative. Do we have any concerns
about starting Testosterone?

What dose should we prescribe, and when should he follow U




                                                                                                   #166.164
                Case 1:23-cv-00864-LCB-LPA   Document 143-91   Filed 10/11/24   Page 37 of 44    UNC_0000164
Alex is a 62-year-old Transgender woman who is transferring care from an outside clinic. She has been
on feminizing hormone therapy for 10 years. She was previously taking oral estradiol 6mg daily and
spironolactone 100mg BID. In 2021, she had a )VT which was thought to be provoked due to estrogen.
She was treated with Xarelto, and her previous prescriber stopped prescribing her estrogen. However,
she would like to continue hormone therapy and has been purchasing oral estrogen of the *Internet.

Her only other PMFI is well controlled HTN on Lisinopril. She does not smoke. She has been married to
her wife for 20 years. She has not undergone any surgeries but is interested in vaginoplasty.

Alex is establishing care with an intern and would like to restart prescribed hormone therapy today.

What concerns do you have about prescribing hormones to Alex? How would you approach this
conversation with her and with your intern?




                                                                                                         #166.165
                 Case 1:23-cv-00864-LCB-LPA   Document 143-91   Filed 10/11/24   Page 38 of 44         UNC_0000165
                                                 Figure 1. Approach to management of estrogen in patients with a personal history
                                                 of VIE
Ideas for approaching this conversation:
   Harm reduction
   Less risky forms of estradiol?
   Continue Xarelto indefinitely?
• Medication adjustment after vaginop asty
                                                                                                                   Arniroagulalon indicated per current
   What age should we stop estradiol?                                                                              cam:Wines for nonUaneoender pattevns




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                                                                                       tiOrxerauligion of **IOWA
                                                                                     thatapy on oirsit.by.asso Ma*,
                                                                                     "Ain mum criteria      kw
                                                                                     AdieleittitletMdef NOWA




                                                   Standard approach to estrogar
                                                   hormone therapy once extort-12i
                                                   cause has been reedy:xi
                                                                                                      BegintrartesiteM *Wagonaft
                                                                                                      wnsent ribzustelon

                                                  This figure outlines the estrogen management approaches for patients with a personal
                                                 history of VTE.




                                                                                                                                                            #166.166
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                                                                                  #166.167
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RESOURCES: SEE BINDER IN RESIDENT WORKROOM


- WPATH,    n        of (are, Version
  UCSEGuidelines:,

  TRANSONEguicletine;




       one Training, via UNC LGBTQ Cente




                                                                                                #166.168
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                                                                                #166.169
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                                                                                  #166.171
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